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CITY OF MEMPHIS, et al.,

IN THE UNITED sTATEs DISTRICT coURT F"'ED B*'-~__ D.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE
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LUTRICIA BARNETT BUCKLEY, ) 1`#"I"'D‘r“"‘:§§”‘:'-'1**5"7»”§“§-"5
et al., )
)
Plaintiffs, )
)
vs. ) Civ. No. 03-2874-D[P
)
)
)
)

Defendants.

 

ORDER GRANTING DEFENDANT CITY OF MEMPHIS' MOTION FOR LEAVE TO
FILE REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT CITY OF
MEMPHIS' MOTION TO COMPEL DISCOVERY FROM PLAINTIFF OR, IN THE
ALTERNATIVE, MOTION FOR LEAVE TO SERVE UPON PLAINTIFF WRITTEN
INTERROGATORIES EXCEEDING TWENTY-FIVE IN NUMBER

 

Before the court is defendant City of Memphis' Motion for
Leave to File Reply to Plaintiff's Opposition to Defendant City Of
Memphis’ Motion to Compel Discovery from Plaintiff or, in the
Alternative, Motion for Leave to Serve Upon Plaintiff Written
Interrogatories Exceeding Twenty-Five in Number, filed August 2,
2005 (Dkt #182). For good cause Shown, defendant City of Memphis’
motion for leave to file reply brief is GRANTED.

IT IS SO ORDERED.

 

TU M. P
United States Magietrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 189 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

